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                                                              May 19, 2021

VIA ECF
The Honorable Margo K. Brodie
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:     United States v. Ng Chong Hwa a.k.a Roger Ng, 18 Cr. 538 (MKB)

Dear Judge Brodie:

       We write jointly with the Government pursuant to this Court’s May 11, 2021 Order to
discuss and agree upon a trial date in this matter. All parties are available and propose January 18,
2022 for jury selection to begin and January 24, 2022 for opening statements and the first day of
witnesses.

      Judge Joan Azrack adjourned the undersigned’s February 7, 2022 multi-defendant trial to
March 7, 2022. Given the Government’s stated length of their case (3 to 4 weeks), both the
Government and the defense believe that this jointly proposed schedule will enable counsel to
complete this trial prior to the trial before Judge Azrack.
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      Thank you for your consideration.


                                                       Respectfully submitted,



                                                       Marc A. Agnifilo, Esq.
                                                       Zach Intrater, Esq.
                                                       Teny R. Geragos, Esq.
                                                       Jacob Kaplan, Esq.

cc:   Counsel for the Government (via ECF and email)




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